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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                                    DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                              8:06CR205
                                    )
            v.                      )
                                    )
DAVID GURROLA,                      )                           FINAL ORDER OF
DANIEL VILLALPANDO,                 )                           FORFEITURE
                                    )
                  Defendants.       )
____________________________________)


                This matter is before the Court upon the United States’ Motion for Final Order of

Forfeiture and Memorandum Brief (Filing No. 75). The Court has reviewed the record in this

case and finds as follows:

                1. On October 16, 2006, the Court entered a Preliminary Order of Forfeiture

pursuant to the provisions of Title 21, United States Code, Sections 841 and 853, based upon the

defendants’ pleas of guilty to Counts III, V, VI and VII of the Superseding Indictment filed

herein. By way of said Preliminary Order of Forfeiture, the defendants’ interest in a 1995

Chevrolet K1500 Tahoe, VIN 1GNEK13K5SJ453828, a 1995 Ford Contour, VIN

1FALP6531SK199877 and $1,150.00 in United States currency were forfeited to the United

States.

                2. On November 16, 23 and 30, 2006, the United States published in a newspa-

per of general circulation notice of this forfeiture and of the intent of the United States Bureau of

Alcohol, Tobacco and Firearms to dispose of the properties in accordance with the law, and

further notifying all third parties of their right to petition the Court within the stated period of
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time for a hearing to adjudicate the validity of their alleged legal interest(s) in said property. An

Affidavit of Publication was filed herein on December 29, 2006 (Filing No. 74).

               3. The Court has been advised by the United States that no Petitions have been

filed. From a review of the Court file, the Court finds no Petitions have been filed.

               4. Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

               IT IS ORDERED:

               A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

               B. All right, title and interest in and to the subject properties, i.e.,a 1995

Chevrolet K1500 Tahoe, VIN 1GNEK13K5SJ453828, a 1995 Ford Contour, VIN

1FALP6531SK199877 and $1,150.00 in United States currency, held by any person or entity, are

hereby forever barred and foreclosed.

               C. The subject properties, i.e., a 1995 Chevrolet K1500 Tahoe, VIN

1GNEK13K5SJ453828, a 1995 Ford Contour, VIN 1FALP6531SK199877 and $1,150.00 in

United States currency , be and the same hereby are, forfeited to the United States of America .

               D. The United States Bureau of Alcohol, Tobacco and Firearms is directed to

dispose of said properties in accordance with law.

               DATED this 5th day of January, 2007.

                                               BY THE COURT:

                                               /s/ Lyle E. Strom
                                               ______________________________
                                               LYLE E. STROM
                                               Senior United States District Court
